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                       IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff/Respondent,

v.                                                  No. CV 13-0966 RB/LAM
                                                        CR 10-3160 RB
MARIO DEVONNE WASHINGTON,

               Defendant/Movant.


     ORDER WITHDRAWING RECOMMENDATION OF DISMISSAL AND
                ORDERING PLAINTIFF TO ANSWER
        THIS MATTER is before the Court on Plaintiff/Respondent’s (hereinafter, “the

Government”) United States’ Motion for Extension of Page Limits for Response Brief (Doc. 24),

filed March 5, 2014. This matter is also before the Court on Defendant/Movant’s (hereinafter

“Defendant”) Motion in Opposition to an Enlargement of Time (Doc. 10); Motion to Expedite

the Reading (Doc. 21); and Petitioner’s Motion to Amend the Objection to the Magistrate’s

Proposed Find[]ings and Recommended Disposition (Doc. 20). Having considered the motions

and record of the case, the Court FINDS that its recommendation of dismissal of Defendant’s

§ 2255 motion in its Proposed Findings and Recommended Disposition (Doc. 17) be

WITHDRAWN; that Docs. 24 and 20 be GRANTED; and that Docs. 10 and 21 be DENIED as

moot.

        On February 13, 2014, the undersigned recommended granting the Government’s motion

to dismiss Defendant’s § 2255 motion [Doc. 14] without prejudice because Defendant had filed a

petition for writ of certiorari with the United States Supreme Court, which meant that Defendant’s

direct appeal was still pending and his § 2255 motion was premature. [Doc. 17]. In the
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Government’s motion for extension of page limits, the Government states that, on

February 24, 2014, the United States Supreme Court denied Defendant’s petition for writ of

certiorari, so the Government “concedes that its motion to dismiss without prejudice is now moot.”

[Doc. 24 at 2]; see also [Doc. 219, filed in Case No. CR-10-3160 RB].                In addition, the

Government states that it will file a response brief no later than March 13, 2014, and asks the Court

to extend the page limits for the response brief from 24 pages to not more than 34 pages, in order to

address Defendant’s numerous claims. Id.

       On February 27, 2014, Defendant filed objections to the Court’s recommended disposition

[Doc. 19], and, on March 3, 2014, Defendant filed a motion to amend his objections to the PF&RD

[Doc. 20], stating that, because his petition for writ of certiorari has been denied, his § 2255 motion

should proceed. In Defendant’s Motion in Opposition to an Enlargement of Time (Doc. 10) and

Motion to Expedite the Reading (Doc. 21), Defendant asks the Court to expedite its consideration

of his § 2255 motion.

       Because the Government’s motion to dismiss is now moot, the Court will WITHDRAW

its recommendation to dismiss Defendant’s § 2255 motion as having been prematurely filed

[Doc. 17], and the Government shall withdraw no later than March 13, 2014 its motion to

dismiss Defendant’s § 2255 motion on the grounds that it was prematurely filed [Doc. 14]. In

addition, the Court will GRANT the Government’s motion for extension of page limits for its

response to the § 2255 motion [Doc. 24], and the response shall be filed no later than

March 13, 2014. The Court will also GRANT Defendant’s motion to amend his objections

[Doc. 20] to the extent he is asking for his § 2255 motion to proceed. Because the Government’s

response to Defendant’s § 2255 motion will be filed within one week, and because the Court can



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now proceed in its consideration of Defendant’s § 2255 motion since his petition for writ of

certiorari has been denied, the Court will DENY as moot Defendant’s motions to expedite

consideration of his § 2255 motion [Docs. 10 and 21]. Defendant is advised that the Court will

consider this case in due course.

        IT IS THEREFORE ORDERED that the Proposed Findings and Recommended

Disposition (Doc. 17) are hereby WITHDRAWN and the Government shall withdraw its motion

to dismiss Defendant’s § 2255 motion as having been prematurely filed [Doc. 14] no later than

March 13, 2014.

        IT IS FURTHER ORDERED that United States’ Motion for Extension of Page Limits

for Response Brief (Doc. 24) is GRANTED, and that the Government’s response to Defendant’s

§ 2255 motion be filed no later than March 13, 2014.

        IT IS FURTHER ORDERED that Petitioner’s Motion to Amend the Objection to the

Magistrate’s Proposed Find[]ings and Recommended Disposition (Doc. 20) is GRANTED to

the extent Defendant is asking for his § 2255 motion to proceed.

        IT IS FURTHER ORDERED that Defendant’s Motion in Opposition to an

Enlargement of Time (Doc. 10) and Motion to Expedite the Reading (Doc. 21) are DENIED as

moot.

        IT IS SO ORDERED.



                                            ______________________________________
                                            LOURDES A. MARTÍNEZ
                                            UNITED STATES MAGISTRATE JUDGE




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